      Case 8-16-74128-las       Doc 13     Filed 09/13/16   Entered 09/13/16 13:45:50


ADT Security Services
3190 S Vaughn Way
Aurora, CO 80014

American Express (Amex)
P.O. Box 360001
Fort Lauderdale, FL 33336

American Telephone Company
16 West 45th Street
New York, NY 10036

Babylon Village Court
153 W Main St
Babylon, NY 11702

Barclays Delaware
P.O. Box 8833
Wilmington, DE 19899

BMW Financial Services
300 Chestnut Ridge Road
Woodcliff Lake, NJ 07677

Bridgeview Home Owners Association, Inc.
535 Broad Hollow Road, A15
Melville, NY 11747

Capital One
P.O. Box 30287
Salt Lake City, UT 84130

Capizzi, Durante & Lee, MD
786 Montauk Hwy
West Islip, NY 11795

Chase Bank
P.O. Box 94014
Palatine, IL 60094

De Lange Laden (DLL)
Vestdijk 51
5611 CA Eindhoven
The Netherlands

Drohan Lee
489 5th Avenue, #14
New York, NY 10017
      Case 8-16-74128-las            Doc 13   Filed 09/13/16   Entered 09/13/16 13:45:50



Duffy & Sweeney / James Briggs Arb
1800 Financial Plz
Providence, RI 02903

ERC Collections
P.O. Box 1259
Oaks, PA 19456

FINRA
300 S. Grand Ave., Ste. 1700
Los Angeles, CA 90071

FINRA
P.O. Box 418911
Boston, MA 02241

First Financial Asset Management
3091 Governors Lake Drive, Ste. 500
Peachtree Corners, GA 30071

Good Samaritan Hospital
1000 Montauk Highway
West Islip, NY 11795

HSBC
P.O. Box 2103
Buffalo, NY 14240

IRS - Internal Revenue Service
P.O. Box 37008
Hartford, CT 06176-7008

Kabbage
925B Peachtree Street NE, Suite 1688
Atlanta, GA 30309

Mobile On Demand Storage of NY, Inc.
1055 Montauk Highway
East Patchogue, NY 11772

MTA LIRR Treasurer
1431 Jamaica Station
Jamaica, NY 11435

National Commercial Services, Inc.
P.O. Box 4366
Allentown, PA 18105
      Case 8-16-74128-las          Doc 13   Filed 09/13/16   Entered 09/13/16 13:45:50



National Grid
P.O. Box 11791
Newark, NJ 07101

New York State Department of Labor
State Office Building 12 - Room 185C
Albany, NY 12240

New York State Department of Taxation and Finance
Bankruptcy Section
P.O. Box 5300
Albany, NY 12205-0300

North Shore Hospital Manhasset
c/o Mullooly Jeffrey Rooney & Flynn
6851 Jericho Turnpike, Suite 220
Syosset, NY 11791

NYS DMV / Suffolk District Court
400 Carlton Avenue, Room D220
Central Islip, NY 11722

Ocwen Loan Servicing
1661 Worthington Road, Ste. 100
West Palm Beach, FL 33409

Optimum
200 Jericho Quadrangle
Jericho, NY 11753

Progressive Auto
P.O. Box 7247-0308
Philadelphia, PA 19170

PSEG LI
P.O. Box 9050
Hicksville, NY 11802

Radiology Advantage NJ
3625 Quakerbridge Road
Hamilton, NJ 08619

Samaritan Emergency Medical
P.O. Box 95000
Philadelphia, PA 19195
      Case 8-16-74128-las        Doc 13     Filed 09/13/16   Entered 09/13/16 13:45:50


SEC - U.S. Securities and Exchange Commission
200 Vesey Street, Brookfield Place, Room 400
New York, NY 10281

Shulman Rogers
12505 Park Potomac Avenue
Potomac, MD 20854

Suffolk County
300 Center Drive
Riverhead, NY 11901

Suffolk County Sewer
335 Yaphank Avenue
Yaphank, NY 11980

Ulmer Berne, LLP
500 West Madison Street, Ste. 3600
Chicago, IL 60661

United Recovery Systems
P.O. Box 4045
Concord, CA 94524

Wells Fargo
420 Montgomery Street
San Francisco, CA 94104

Zwicker and Associates
299 Broadway
New York, NY 10007
